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                                                                   FILED: July 26, 2016

                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                         No. 16-1270 (L)
                                        (5:15-cv-00156-D)
                                      ___________________

         RALEIGH WAKE CITIZENS ASSOCIATION; JANNET B. BARNES;
         BEVERLEY S. CLARK; WILLIAM B. CLIFFORD; BRIAN FITZSIMMONS;
         GREG FLYNN; DUSTIN MATTHEW INGALLS; AMY T. LEE; ERWIN
         PORTMAN; SUSAN PORTMAN; JANE ROGERS; BARBARA
         VANDENBERGH; JOHN G. VANDENBERGH; AMYGAYLE L. WOMBLE;
         PERRY WOODS

                     Plaintiffs - Appellants

         v.

         WAKE COUNTY BOARD OF ELECTIONS

                     Defendant - Appellee

         and

         CHAD BAREFOOT, in his official capacity as Senator and primary sponsor of SB
         181; PHILLIP E. BERGER, in his official capacity as President Pro Tempore of
         the North Carolina Senate; TIM MOORE, in his official capacity as Speaker of the
         North Carolina House of Representatives

                     Defendants

                                      ___________________

                                           No. 16-1271
                                        (5:13-cv-00607-D)
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         CALLA WRIGHT; WILLIE J. BETHEL; AMY T. LEE; AMYGAYLE L.
         WOMBLE; JOHN G. VANDENBERGH; BARBARA VANDENBERGH;
         AJAMU G. DILLAHUNT; ELAINE E. DILLAHUNT; LUCINDA H.
         MACKETHAN; WILLIAM B. CLIFFORD; ANN LONG CAMPBELL; GREG
         FLYNN; BEVERLEY S. CLARK; CONCERNED CITIZENS FOR AFRICAN-
         AMERICAN CHILDREN, d/b/a Coalition of Concerned Citizens for African-
         American Children; RALEIGH WAKE CITIZENS ASSOCIATION

                     Plaintiffs - Appellants

         v.
         WAKE COUNTY BOARD OF ELECTIONS

                     Defendants - Appellees

         STATE OF NORTH CAROLINA

                     Defendant

                                      ___________________

                                           ORDER
                                      ___________________

              The petition for rehearing en banc was circulated to the full court. No judge

        requested a poll under Fed. R. App. P. 35. The court denies the petition for

        rehearing en banc.

                                               For the Court

                                               /s/ Patricia S. Connor, Clerk




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